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                                                                          March 5, 2025



VIA ECF
The Honorable Naomi Reice Buchwald
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St., Courtroom 21A
New York, NY 10007-1312
BuchwaldNYSDChambers@nysd.uscourts.gov


Re: John Doe v. Sean Combs, et al., 24-CV-08812 (NRB)

Dear Judge Buchwald:


       We write on behalf of Plaintiff John Doe (“Plaintiff”), in response to Sean Combs (“Mr.
Combs”), Daddy’s House Recordings Inc., CE OpCo, LLC d/b/a Combs Global f/k/a Combs
Enterprises, LLC, Bad Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc.,
Bad Boy Books Holdings, Inc., and Bad Boy Entertainment LLC’s (collectively, the “Combs
Defendants,” and excluding Mr. Combs, the “Company Defendants”) letter motion, dated
February 25, 2025 (Dkt. No. 32), pursuant to which Defendants request leave to file a motion to
dismiss Plaintiff’s Complaint (Dkt. No. 1) (the “Complaint”).

        The Defendants intend to move for dismissal on the grounds that (1) the Complaint is time
barred; (2) Plaintiff’s GMVL claim fails because it does not allege the required element of gender
animus; (3) the claims against the Company Defendants fail and the Complaint lacks evidence of
specific conduct by the Company Defendants; and (4) that the claims against CE OpCo LLC, Bad
Boy Entertainment LLC, and Bad Boy Productions LLC fail because they were formed after the
alleged sexual abuse.

        The Defendants’ arguments that the Claims are time barred and that the Company Defendants are
essentially shielded from liability are both baseless. The crux of Defendants’ argument pursuant to
Federal Rule 12(b)(6) is that the VGMVPL cannot apply retroactively against corporate
defendants, and that Plaintiff’s claims regarding sexual abuse he suffered in 2001 should therefore
be dismissed. In support of their arguments, Defendants rely on Doe v. Combs, 23-cv-10628
(JGLC) 2024 2024 WL 4987044 (S.D.N.Y. Dec. 5, 2024), wherein the Court held that 2022
amendment to the VGMVPL, which expanded the scope of liability so as to apply to any “party,”
cannot be applied retroactively against corporate defendants, because the original VGMVPL
applied only to any “individual.”


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         As originally enacted, the VGMVPL provided victims of gender-motivated crimes of
violence with a cause of action against only the individual who perpetrated the crime. (See NYC
Municipal Code Title 10, Chapter 11, §10-1104, eff. Dec. 19, 2000.) Effective January 2022, the
City Council amended §10-1104 to provide “any person claiming to be injured by a party who
commits, directs, enables, participates in, or conspires in the commission of a crime of violence
motived by gender has a cause of action against such party.” (§10-1104, eff. Jan. 9, 2022.) In the
same enactment, the City Council also amended §10-1105, entitled “Limitations,” to provide: “any
civil claim or cause of action brought under this chapter that is barred because the applicable period
of limitations has expired is hereby revived and may be commenced not earlier than six months
after, and not later than two years and six months after, September 1, 2022.” Taken together, the
two amendments (1) expanded liability to non-perpetrator defendants where no liability had
previously existed and (2) revived causes of action brought under the statute whose limitations
period had already expired. Neither §10-1104 nor §10-1105 have express provisions that apply the
VGMVPL to causes of actions accruing before its 2000 enactment.

        Defendants’ arguments are contrary to the VGMVPL’s primary intention: to make it easier
for victims of gender-motivated violence to seek civil remedies in court—not, as Defendants
would have it, make it harder. New York City passed the VGMVPL “[i]n light of the void left by
the Supreme Court’s decision” in United States v. Morrison. N.Y.C. Admin. Code § 8-902.
Morrison struck down the federal right of action for victims of gender-motivated violence under
the Violence Against Women Act (VAWA) (42 U.S.C. § 13981), holding that Congress lacked
the authority under the Commerce Clause and the Fourteenth Amendment to pass such a remedy.
529 U.S. 598, 627 (2000).

         “It is fundamental that in interpreting a statute, the court should attempt to effectuate the
intent of the Legislature.” Cadiz-Jones, 2002 WL 34697795, at *1 (Sup. Ct. NY. Cnty. Apr. 9,
2002) (holding VGMVPL was intended to apply retroactively) (citing Patrolmen’s Benevolent
Assn. v City of New York, 41 N.Y.2d 205, 208 (1976)). The Council intended the VGMVPL to
make it easier for victims of gender-motivated violence to seek court remedies. Id. It intended the
same when it passed the 2022 amendment to the law. See, e.g., City Council H’rg Testimony (Nov.
29, 2021) at 41 (testimony in support of act’s passage describing sexual abuse in 1993); Hr’g Tr.
(Nov. 29, 2021) at 129–30 (“In summary, there is no timeline on processing trauma. Not passing
this Bills means we would be denying what it means to be fundamentally human and denying the
research and the science that it takes some of us longer than other, not only to come forward, but
to tell our story.”), 131 (“I am here to tell you that a victim doesn’t have a set time for when they
came come forward. . . . Please pass the amendment to allow the window for justice to be pursued
by all victims of gender-motivated violence.” (emphasis added)). “Based on an analysis of
statutory text and history” it is clear that “the legislative body intended [the VGMVPL] to apply
retroactively.” Cadiz-Jones, 2002 WL 34697795, at *1.1. Based on the foregoing, it is apparent
that the Complaint is not time barred and the claims against the Company Defendants are valid.

        Moreover, the crux of the Company Defendants’ arguments for dismissal pursuant to Rule
8 is that Plaintiff’s allegations against the Company Defendants are “too vague” to meet Rule 8’s
fair notice requirement. Plaintiff respectfully submits that the Company Defendants’ arguments
are without merit. “Rule 8 is fashioned in the interest of fair and reasonable notice, not technicality,



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and therefore is not meant to impose a great burden upon a plaintiff.” See Iconix Brand Grp., Inc.
v. Bongo Apparel, Inc., No. 06 Civ. 8195, 2008 WL 2695090, at *3 (S.D.N.Y. July 8, 2008).
Moreover, it “does not required ‘detailed factual allegations.’” Ashcroft v. Iqbal, 556 U.S. 662
(2009). Rule 8 merely demands more than “naked assertion[s]” and “unadorned, the-defendant-
unlawfully-harmed-me accusations.” Id.

        Here, the Complaint alleges in pertinent part as follows:

                 The Combs Corporations further enabled and conspired with Combs
                 to commit the crime of violence motivated by gender by actively
                 placing, maintaining, and/or employing Combs in positions of
                 power and authority, despite the fact that they knew and/or should
                 have known that Combs had a widespread and well-known practice
                 of committing sexual assault and gender-motivated violence,
                 including on premises owned and/or operated by Defendants.
                 Combs used his titles and authority conferred by the Combs
                 Business, including as CEO, Founder, and Chairman to facilitate
                 and perpetuate the violent assault on Plaintiff, and to intimidate and
                 force Plaintiff to keep quiet in subsequent years.

See Complaint Dkt. No. 1, ¶ 60; see also ¶¶ 57-62.

        In light of the foregoing, it is respectfully submitted that Plaintiff has “plausibly pleaded
on the face of [his] complaint that [he] suffered…harm from [the Company Defendants’] action[s],
and that is enough for now.” Tyler v. Hennepin County, 598 U.S. 631 (2023), and that the Company
Defendants’ motion should therefore be denied. However, in the event the Company Defendants’
motion is granted, Plaintiff respectfully requests leave to replead. Accord In re Merril Lynch &
Co., Research Reports Sec. Litig., 2018 F.RD. 76, 79 (S.D.N.Y. 2003).

        Furthermore, as discovery has not been exchanged nor have the parties been deposed, it is
premature for the Defendants to allege that the Complaint should be dismiss for allegedly failing
to establish gender animus. Under the GMVA, a crime is “motivated by gender” if it involves “an animus
based on the victim’s gender” (NYC Admin. Code §10-1104). Courts have repeatedly held that sexual
violence inherently demonstrates gender-based animus. (Breest v. Haggis (180 AD3d 83, 94 [1st Dept.
2019]): “Without consent, sexual acts… are a violation of the victim’s bodily autonomy and an expression
of contempt for that autonomy. Animus inheres where consent is absent.”; Engelman v. Rofe: Found gender-
based animus in sexual assaults involving groping and coerced sexual acts. Here, Plaintiff alleges acts of
sexual violence – including oral and anal penetration – that dehumanized him and disregarded his
autonomy. Such acts clearly demonstrate gender-based animus.

        Additionally, despite Defendants’ argument that the claims against CE OpCo LLC, Bad Boy
Entertainment LLC, and Bad Boy Productions LLC fail because the entities were formed after the alleged
sexual abuse, it is Plaintiff’s position that successor liability applies and therefore the case should not be
dismissed as against these Defendants. See Schumacher v. Richards Shear Company, Inc. 59 N.Y. 2d 239
(Ct. App. 1983), in which the Court of Appeals held that a successor corporation or entity, and/or an entity
which formed as a result of a merger, could be responsible for the liabilities of a predecessor entity. The
Court stated, “A corporation may be held liable for the torts of its predecessor if (1) it expressly or impliedly
assumed the predecessor’s tort liability, (2) there was a consolidation or merger of seller and purchaser, (3)


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the purchasing corporation was a mere continuation of the selling corporation, or (4) the transaction is
entered into fraudulently to escape such obligations. In Simpson v. Ithaca Gun Co. LLC 50 A.D. 3d 1475
(4th Dept, 2008), the Court stated that the premise that a successor corporation may be responsible for
liabilities of a predecessor corporation is based on the concept that a successor that effectively takes over a
company in its entirety should carry the predecessor’s liabilities as a concomitant to the benefits it derives
from the good will purchased.

       In light of the foregoing, Plaintiff respectfully requests that the Court deny Defendants’
request to file a motion to dismiss in its entirety.

                                                          Respectfully,


                                                          Antigone Curis




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